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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

 CHRISTINA L. CUPP, as Administrator of
 the Estate of LITTLE JOHN CUPP,                             Case No. 2:24-CV-01519

                               Plaintiff,                   Judge Edmund A. Sargus
                                                       Magistrate Judge Chelsey M. Vascura
        vs.

 UNITED HEALTHCARE SERVICES, INC.,
 et al.,

                               Defendants.



                               STIPULATION OF DISMISSAL

       In accordance with Federal Rule of Civil Procedure 41(a)(1)(A)(ii), and on the basis of the

motions to dismiss filed by Defendants EviCore Healthcare MSI, LLC (“EviCore”) (Docs. 11 and

12), and United HealthCare Services, Inc. (“United”) (Doc. 14), and Plaintiff’s Combined

Response to United’s and EviCore’s motions to dismiss (Doc. 27), the parties who have appeared

in this action, by and through the undersigned counsel, respectfully give notice that they have

stipulated to the voluntary dismissal without prejudice of the above-referenced matter as to United

and EviCore, and all claims in their entirety that were asserted, could have been asserted, and/or

should have been asserted by Plaintiff against United and EviCore. Each party, to include Plaintiff,

United, and EviCore, will bear its own costs, fees, and expenses. No other claims or parties are

intended to be affected by this dismissal.

       Following the dismissal of United and EviCore, no federal claims will remain pending in

the litigation, and the parties that will remain (Ms. Cupp, Adena Health System, Adena Medical
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Group, LLC and Dr. Hassan) stipulate and agree to the remand of the remaining claims to the

Franklin County Court of Common Pleas.



                                     Respectfully submitted,

 /s/ John A. Markus (per email auth, 10/16/24,       /s/ Katheryn M. Lloyd
 ALM)                                                Katheryn M. Lloyd (0075610)
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 Administrator of the Estate of Little John          Attorneys for Defendant
 Cupp                                                United HealthCare Services, Inc.



 /s/ James M. Brodzik (per email auth.,              /s/ Jessica L. Davis (per email auth., 10/16/24,
 10/16/24, ALM)                                      ALM)
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                                CERTIFICATE OF SERVICE

       I hereby certify that on October 16, 2024, I caused a true and correct copy of the

foregoing to be filed through the Court’s electronic filing system and that this document was

emailed to all counsel of record.



                                                    /s/ Katheryn M. Lloyd

                                                    One of the Attorneys for Defendant
                                                    United HealthCare Services, Inc.
